             Case 24-90533 Document 1451 Filed in TXSB on 02/18/25 Page 1 of 1



      APPEARANCE SHEET FOR HEARING BEFORE
                  JUDGE PEREZ
             Tuesday, February 18, 2025
First Name        Last Name      Firm Name                       Client Name
                                 Akin Gump Strauss Hauer &
Scott             Alberino       Feld LLP
                                 Vartabedian   Hester & Haynes   Ad Hoc Lender Group
Blake             Berryman       LLP Gump Strauss Hauer &
                                 Akin                            Cobb County, Georgia
Marty             Brimmage       Feld LLP                        Ad Hoc Lender
                                                                 Michigan         Group of Corrections and Michigan
                                                                            Department
Scott             Damich         MI Dept
                                 Akin Gumpof Attorney
                                              Strauss General
                                                      Hauer &    Department of Technology, Management, and
Kate              Doorley        Feld LLP                        Ad Hoc Lender Group
Evelina           Gentry         Akerman LLP                     H.I.G. Capital, LLC
Marc              Ginsberg       Mandina & Ginsberg,
                                 Vartabedian   Hester & PLLC
                                                        Haynes   Gracienne Myers and Daniel Myers
Blake             Glatstein      LLP                             Cobb County, Georgia
Susan             Goodman        Pivot Health
                                 Bonds         Law, LLC
                                        Ellis Eppich Schafer     Healthcare Ombudsman
Aaron             Guerrero       Jones LLP                       Diamond Drugs Inc
Zachary           Hemenway       Stinson LLP                     Statutory Unsecured Claimholders' Committee
Matthew           Herron         herronlawapc                    Allred, Klein, and Doyle
Audrey            Hornisher      Clark Hill PLC                  BayMark and MedMark
John              Lucy           Thomas Thomas and Hafer         Dr. Marty Cole
Paul              MAcPherson     None                            Creditor
Rujuta            Nandgaonkar    Mitchell Leeds, LLP             Kevin Morgan
Jason             Oletsky        Akerman LLPHester & Haynes
                                 Vartabedian                     H.I.G. Capital, LLC
Jeff              Prostok        LLP                             Cobb County, Georgia
Mark              Ralston        Fishman Jackson PLLC            El Paso County, Colorado
Cortney           Robinson       Department of Justice           United States
Casey             Roy            Ross, Smith & Binford, PC       Susan N. Goodman, Patient Care Ombudsman
Michael           Seng           Michael Seng                    Deandre Bradley
Jack              Shadid         Hinshaw & Culbertson, LLP       Marzan Williams (Creditor)
R. J.             Shannon        Shannon & Lee LLP               Claimants in ECF. 245-1
Adrian            Spearman       Spearman Legal Firm, P.C.       Estate of Khalya J Evans
John              Steiner        Leech Tishman Fuscaldo &        Diamond Drugs Inc
John              Steiner        Lampl,
                                 Akin    LLC Strauss Hauer &
                                      Gump                       Diamond Drugs, Inc.
Benjamin          Taylor         Feld LLPHardt Kopf & Harr
                                 Munsch                          Ad Hoc Lender Group
Julian            Vasek          P.C.                            Colorado Tort Plaintiffs (Estate of Carl Martin et al.)
J. Thomas         Vetne          Chester Law Office              Faith Salinas
Alex              Warso          Epiq                            ClaimsCapaci
                                                                 Layla   Agent
Andrew            Willey         Willey Law Firm, PLLC           Teesha Graham
Jessica           Winters        The Winters Law Group, LLC      Dawn Crawford (creditor)
Nicholas          Zluticky       Stinson LLP                     Statutory Unsecured Claimholders' Committee
